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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v.                                                       Case No. 1:23-cr-257-TSC

DONALD J. TRUMP,

      Defendant.
________________________________/

      PRESIDENT TRUMP’S RESPONSE IN OPPOSITION TO PROSECUTION’S
 MOTION FOR FORMAL PRETRIAL NOTICE OF THE DEFENDANT’S INTENT TO
               RELY ON ADVICE-OF-COUNSEL DEFENSE

       President Trump submits this response in opposition to the prosecution’s Motion for

Formal Pretrial Notice of President Trump’s Intent to Rely on an Advice-of-Counsel Defense, Doc.

98 (the “Motion”). The Court should deny the Motion.

                                       INTRODUCTION

       Under the Federal Rules, a defendant has no obligation, outside certain inapplicable

exceptions, to provide his accusers with pretrial disclosures of trial strategies, including any

potential invocation of a formal advice of counsel defense. The Local Criminal Rules, likewise,

feature no such requirements.

       Nonetheless, the prosecution requests that the Court depart from ordinary order and invent

an entirely new set of rules that would require President Trump, but not the prosecution, to provide

detailed descriptions of core defense work product two and a half months before trial. Specifically,

the prosecution demands interrogatory-like disclosures that would require President Trump to not

only advise whether he intends, in general, to invoke a formal advice of counsel defense, but also

“describe with particularity:”

       (1) the identity of each attorney who provided advice;


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       (2) the specific advice given, including whether the advice was oral or written;
       (3) the date on which the advice was given; and
       (4) the information the defendant communicated or caused to be communicated to the
       attorney concerning the subject matter of the advice, including the date and manner of the
       communication.

       These demands place an unacceptable burden on President Trump to foreshadow a possible

formal defense and comply with a burdensome discovery demand under an already too

burdensome pretrial schedule. 1

       Indeed, the prosecution’s request demonstrates the constitutionally fatal unfairness of this

entire proceeding. President Trump has no chance to meaningfully review over 13 million pages

of discovery before the government’s proposed deadline of December 18, let alone in sufficient

detail to allow an enormously consequential decision regarding his attorney-client privileges. The

prosecution has not placed any exhibits in evidence, called a single witness, or otherwise complied

with President Trump’s repeated requests to provide more detail on its intended trial presentation.

       Instead, the prosecution has dumped millions of pages of disorganized and largely unusable

discovery on President Trump, while wrongfully withholding other essential discovery. 2 Under

such circumstances, President Trump has no reasonable chance to decide whether a formal advice




1
 Although the prosecution makes much of President’s Trump’s attorney’s public statements, the
prosecution is keenly aware that attorneys were involved in virtually all aspects of the charged
conduct. And while the involvement of attorneys is certainly relevant to a defendant’s state of mind
and lack of criminal intent, “[a] mere indication of a claim or defense certainly is insufficient to
place legal advice at issue” at this stage of the proceedings. In re Cnty. of Erie, 546 F.3d 222, 229
(2d Cir. 2008).
2
 President Trump is currently identifying and compiling numerous infirmities in the prosecution’s
discovery productions and will address these issues with the Court if the prosecution is unable to
resolve them. Likewise, President Trump is addressing gaps in discovery through other motions
and requests.

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of counsel defense would be necessary or appropriate—and he will not until the prosecution begins

presenting its actual case at trial.

        The prosecution, of course, knew this when it advocated for an unconstitutionally rapid

pretrial schedule, and it knows it now. Indeed, that is the prosecution’s objective. It is attempting

to win this case not through the pursuit of truth, but through procedural traps, tricks, and

encumbrances all designed to prevent President Trump from presenting a fulsome defense, which

the prosecution knows would exonerate him of these false and baseless charges. This Motion is

just the latest example in an unremitting barrage of ad hoc, unconstitutional maneuvers designed

to impose greater burdens on President Trump than any other criminal defendant in American

history. It violates President Trump’s rights, tramples on the due administration of justice, and the

Court should put a stop to it. 3

                                       APPLICABLE LAW

        “[T]he cause of justice and a fair trial cannot be subjected to such a whimsicality of criminal

procedure.” Brooks v. Tennessee, 406 U.S. 605, 608 (1972) (quoting United States v. Shipp, 359

F.2d 185, 191 (6th Cir. 1966) (McCallister, J., dissenting)). The idea that a criminal defendant could

be required to provide any advance notice of a defense along with a waiver of the attorney-client

privilege and discovery is a novel one, unsupported by any appellate case law in this Circuit or

elsewhere. See United States v. Espy, 1996 WL 560354, at *1 (E.D. La. Oct. 2, 1996) (“[T]his

Court finds that there is no caselaw to support [the government’s] proposition that a defendant

must notify the government if he intends to rely on the advice of counsel defense.”).


3
 It is no small irony that the prosecution has accused President Trump of trying to “intrude” on
CIPA proceedings in which the prosecutors are seeking to withhold discoverable evidence, but
nevertheless demands early and unconstitutional notice of President Trump’s trial defense. The
prosecution is no more entitled to such notice than it is entitled to access our discussions with the
Court regarding other aspects of President Trump’s defense.

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         As no rule of procedure, statute, or other authority requires pretrial disclosure, courts

routinely reject such requests. See United States v. Wilkerson, 388 F. Supp. 3d 969, 974-75 (E.D.

Tenn. 2019) (“[C]ourts should not ad hoc invent new ways to coerce criminal defendants to assist

the government in their prosecution—absent compelling reason to do so”); United States v. Crinel,

2016 WL 6441249, at *11 (E.D. La. Nov. 1, 2016) (“[T]he ‘advice-of-counsel’ defense is not one

of the defenses, objections, or requests that must be raised before trial under Rule 12(b)(3) of the

Federal Rules of Criminal Procedure.”); United States v. Shea, 2022 WL 1598189, at *1-*2

(S.D.N.Y. May 20, 2022) (denying motion for pretrial notice of any advice-of-counsel defense as

premature); United States v. Faulkner, 2011 WL 976769, at *3 (N.D. Tex. Mar. 21, 2011) (denying

motion for pretrial notice of any advice-of-counsel defense “as exceeding what is required by

law”).

         The prosecution primarily relies on United States v. Crowder, 325 F. Supp. 3d 131 (D.D.C.

2018), and United States v. Dallmann, 433 F. Supp. 3d 804 (E.D. Va. 2020), both of which ordered

pretrial notice of an advice of counsel defense, a privilege waiver, and discovery related thereto;

however, these cases required only approximately two weeks’ notice, respectively, before trial.

(The prosecution here requests notice two and half months before trial). Moreover, courts have

widely rejected the reasoning of these unusual opinions. See United States v. Alessa, 561 F. Supp.

3d 1042, 1049 (D. Nev. 2021) (“To the extent the Court considers the persuasive value of the

authorities presented . . . the Court finds the rationale expressed in [Wilkerson] . . . more persuasive

than [Dallmann].”). The Alessa court explained:

         As Judge Mattice explained in Wilkerson, the decision to pursue criminal charges
         carries with it important consequences, including that the defendant has the right to
         remain silent while the government is required to prove its case beyond a reasonable
         doubt. Moreover, forcing the defense to disclose anything to the government
         without the imposition of reciprocal discovery rights is foreign to the rules of
         criminal procedure and our Constitutional system, not to mention that reliance or
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       advice of counsel defenses are not specifically enumerated under Fed. Rs. Crim. P.
       12.1, 12.2, or 12.3 as defenses that must be disclosed in advance. Other than a
       seemingly arbitrary, unspecified sentiment about when a proper defense must be
       formulated, the Court does not know why a criminal defendant must decide what
       defense (if any) to pursue in advance of trial or risk losing the option altogether.

Id. (citing Wilkerson, 388 F. Supp. 3d at 975).

       In rejecting Crowder, the Wilkerson court found there is “hardly a consensus on the idea”

advanced in Crowder that “the Court can expand Defendants’ obligations under Federal Rule of

Criminal Procedure 16 to compel notice of the advice of counsel defense and produce the requested

evidence.” Wilkerson, 388 F. Supp. 3d at 974 (comparing Crowder, 325 F. Supp. 3d at 138, with

United States v. Meredith, 2014 WL 897373, at *1 (W.D. Ky. Mar. 5, 2014) (denying the

government’s request to require a criminal defendant to disclose an advice of counsel defense,

holding that “[t]he United States has provided no authority to compel pretrial disclosure beyond

the bounds of Rule 16”)); see also United States v. Ray, 2021 WL 5493839, at *5 (S.D.N.Y. Nov.

22, 2021) (“[T]he government is not entitled to either the names of the attorneys whom Ray intends

to call as witness or upon whose advice he intends to rely, and the government is not entitled at

the pretrial stage to be informed of the charges to which Ray intends to assert an advice-of-counsel

defense. The request for the names of the attorneys is tantamount to a request for a witness list . .

. [and] disclosure [of the specific charges to which the defendant intends to assert an advice-of-

counsel defense] would require the defendant to reveal his trial strategy pretrial.”).

       Wilkerson recognized that a criminal defendant often does not decide whether to offer a

defense until after the prosecution’s evidentiary presentation. 388 F. Supp. 3d at 975 (“But other

than a seemingly arbitrary, unspecified sentiment about when a proper defense must be formulated,

the Court does not know why a criminal defendant must decide what defense (if any) to pursue in

advance of trial or risk losing the option altogether. The Defendants here, for example, could wait

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and decide what defenses to raise once they see what evidence the Government presents at trial.”);

see also United States v. Lacour, 2008 WL 5191596 at * 1 n.1 (M.D. Fla. Dec. 10, 2008)

(“Defendants are not obligated to put on any defense, and, except for certain [enumerated] defenses

which must be disclosed prior to trial, Defendants are free to make that decision at trial.”).

       More importantly, requiring a defendant to turn over otherwise privileged evidence to the

prosecution before the defendant has decided whether to present the evidence is unconstitutional.

Wilkerson, 388 F. Supp. 3d at 975 (“If that is the case, it would be untenable—and, most likely,

unconstitutional—to require Defendants to turn over potential evidence (most of which is currently

privileged) to the Government or risk forfeiting a defense. The source of that concept, whatever it

might be, is fundamentally foreign to the adversarial system of criminal justice contemplated by

the United States Constitution.”); see also Brooks, 406 U.S. at 612 (“By requiring the accused and

his lawyer to make that choice without an opportunity to evaluate the actual worth of their

evidence, the statute restricts the defense—particularly counsel—in the planning of its case.”).

       The prosecution “has elected to prosecute this case criminally” and as such “it has put

Defendants’ liberty interests at stake.” Id. at 972-73. “Doing so implicates a whole host of

constitutional concerns that are nonexistent in the civil context.” Id.; see also Ray, 2021 WL

5493839, at *6 (“Discovery in civil cases is conducted much differently and usually requires

discovery to be completed by a certain deadline. Not so in criminal cases.”).

       Yet, even if there was some support for the idea that pretrial disclosure is permitted, the

prosecution does not have a right to it in this instance. United States v. Afremov, 2007 WL 2475972

at * 4 (D. Minn. Aug. 27, 2007) (“[T]he prosecution [does not] have a right to notice from the

defense that it intends to assert an advice of counsel defense at trial.”); United States v. Atias, 2017

WL 563978 at * 4 (E.D.N.Y. Feb. 10, 2017) (concluding that “the government has not established



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that is has a ‘right’ to pretrial notice as to the defense [of advice of counsel]”). As such, the Court

has full discretion to deny or defer the Motion. See United States v. Mubayyid, 2007 WL 1826067,

at *2 (D. Mass. June 22, 2007) (deferring a ruling on the government’s request for notice of an

advice of counsel defense because “[t]he fact that the Court appears to have the power to order

such notice does not . . . necessarily require that it be exercised to the fullest extent, particularly

given the potential burden on the exercise of the attorney-client privilege”).

                                           ARGUMENT

       I.      The Prosecution Cannot Force President Trump to Choose Between the Cross
               and the Sword

       “[T]he Constitution guarantees criminal defendants a meaningful opportunity to present a

complete defense.” Holmes v. South Carolina, 547 U.S. 319, 324 (2006) (quotation marks

omitted). The prosecution has attempted at every turn to strip President Trump of this right by

impeding his ability to meaningfully review discovery, conduct his own investigation, and

determine what defenses to present.

       Now, the prosecution hopes to force President Trump to choose between either (1) making

an early disclosure of a formal advice of counsel defense, and thus waiving the attorney-client

privilege before having a meaningful opportunity to review the prosecution’s discovery, consider

its exhibit or witness lists, or hear its proof at trial, or (2) declining to provide early notice, and

thus risk a waiver of any future ability to assert an advice of counsel defense.

       Neither of these choices are acceptable, and both violate President Trump’s due process

rights. First, President Trump cannot be coerced to make a premature, uninformed waiver of his

attorney-client privileges. “Waivers of constitutional rights not only must be voluntary, but must

also be knowing, intelligent acts done with sufficient awareness of the relevant circumstances and

likely consequences.” Wilkicki v. Brady, 882 F. Supp. 1227, 1232 (D.R.I. 1995) (quoting Brady v.


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United States, 397 U.S. 742, 748 (1970)); Brooks, 406 U.S. at 608 (“[C]oercion is denial of

freedom of action.” (quoting Bell v. State, 66 Miss. 192, 194 5 So. 389 (1889))).

        Thus, the only way to assure that any waiver by President Trump is knowing, voluntary,

and intelligent, is to allow him sufficient time to review discovery, complete his investigation, and

understand the prosecution’s case at trial. Ray, 2021 WL 5493839, at *6 (“[T]o require [the

defendant] to now, months before trial, choose between (1) waiving the privilege and disclosing

all of his communications with counsel and (2) being barred from later relying on an advice-of-

counsel defense to negate the government’s proof, would impermissibly burden the attorney-client

privilege.”). 4

        Likewise, outside the very narrow exceptions provided for in the Criminal Rules, 5 the

Court cannot require that President Trump assert a defense before trial, on pain of waiver.



4
  Rather than forcing this choice, the Ray court did not require the defense to produce any
privileged documents supportive of an advice of counsel defense “before the earlier of either (1)
the defense’s unequivocal assertion of the advice-of-counsel defense, including before the jury
through opening statements or any cross-examination during the government’s case, or (2) the
close of the government's case-in-chief.” Id. at *6.
5
 “[W]hile the Federal Rules of Criminal Procedure require defendants to give advance notice and
discovery of certain, carefully enumerated defenses, (alibi defense), 12.2 (insanity defense), 12.3
(public-authority defense), even the drafters of those rules could not agree on their propriety.”
Wilkerson, 388 F. Supp. 3d at 974–75 (citing Fed. R. Crim. P. 12-1, cmt. 1974 - Advisory Comm.
Notes); Mathews v. United States, 485 U.S. 58, 65 (1988) (“The only matters required to be
specially pleaded by a defendant are notice of alibi, Fed.Rule Crim.Proc. 12.1, or of intent to rely
on insanity as a defense, Fed.Rule Crim.Proc. 12.2.”).

To be sure, the fact that the Criminal Rules do not call for pretrial disclosure of an advice of counsel
defense strongly counsels against any attempt by the Court to “fill in the gaps” and require such
disclosure. If the Supreme Court wished for pretrial disclosures to occur, the Rules would say so.
The fact they do not should resolve the issue. Mubayyid, 2007 WL 1826067, at *2 (“The fact,
however, that the rules enumerate certain notice requirements, but not others, gives the Court some
pause. Ordinarily, the listing of notice requirements in specific instances would strongly suggest
that any other notice requirements were intended to be excluded. Nor is the Court empowered as
a general matter to fill in the gaps where a statute or rule fails to address a particular
circumstance.”).
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Wilkerson, 388 F. Supp. 3d at 972–73 (“[T]he concept of waivable defenses is a creature of civil

procedure” and have no application in a criminal prosecution where “defendants do not plead an

‘answer’ to indictments.”).

       II.     The Prosecution’s Significant Demand Necessitates Reciprocity

       The defense is aware that there may be efficiencies to a pretrial disclosure of a defense.

However, efficiencies do not eclipse President Trump’s constitutional rights. Wilkerson, 388 F.

Supp. 3d at 974–75 (“And it is certainly not a sufficient justification that doing so would be more

convenient for the Government and the Court, as the Government seems to argue here. ‘[J]ealously

guard[ed]’ constitutional principles are not casually tossed aside for the sake of expediency, much

less for the mere potential that there may be some future inconvenience.”) (quoting Cooper v.

Oklahoma, 517 U.S. 348, 363 (1996) (quoting Jacob v. New York, 315 U.S. 752, 752 (1992))).

       With regard to rules regulating notice and discovery, “[e]ach requirement that a defendant

provide notice or evidence mandates the government’s reciprocity.” Wilkerson, 388 F. Supp. 3d at

973. “The rule does not require a defendant to divulge the details of his own case while at the same

time subjecting him to the hazard of surprise concerning refutation of the very pieces of evidence

which he disclosed to the state.” Id. (quoting United States v. Booker, 2012 WL 1458009, at *2

(N.D. Ga. Mar. 12, 2012) (cleaned up) (quoting Wardius v. Oregon, 412 U.S. 470, 476 (1973))).

Two months after indictment, the prosecution has injected a request that by its own assertion

requires a response that it concedes is “potentially extensive.” 6 Doc. 98, at 10. In reciprocity,

“fairness” and “efficiency” demand that the defense be given as much time as needed to investigate

and evaluate this “potentially extensive” defense and discovery.


6
 The prosecution does not seem to recognize that if the defense produces privileged discovery, the
prosecution then has an obligation to produce what it recovers from its investigation of the
previously privileged witnesses and records.

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       A. The Prosecution Should Have Made This Demand Earlier

       Discovery in criminal cases is voluntary. A defendant does not have to engage in discovery,

and in some cases they do not. If the prosecution wanted an additional pretrial disclosure, they

should have notified the defense before the defense was required to elect whether to participate in

discovery so that an assessment of the defense’s discovery obligation could be made.

       Whatever merit there is in expanding a defendant's, as opposed to the government's,
       discovery obligation under Rule 16, if it were to be done, it should be done prior to
       a criminal defendant requesting and the government providing its discovery
       information. In other words, assuming a court has the power to expand a
       defendant's obligations under Rule 16, it should be ordered before—not after—the
       defendant has voluntarily subjected himself to disclosure under that rule. Courts
       should not alter the terms of the deal once the defendant enters into it. Here, the
       Government has already made its disclosures under Rule 16 (presumably upon
       Defendants' request). The time for expanding Defendants' obligations under Rule
       16, then, has long since passed.

Wilkerson, 388 F. Supp. 3d at 974.

       The prosecution investigated this case for three years. It knew that attorneys were

extensively involved. It had enough notice at the time of arraignment to provide warning to

President Trump that it would seek this type of discovery. To wait two months after indictment to

make this request, knowing the defense is buried in discovery and motion practice, is nothing more

than gamesmanship.

       The prosecution’s theme of its motion is that any delay in the defense providing notice and

discovery would disrupt the trial schedule. But its late request itself disrupts the trial schedule. It

must live with the consequences.

       B. Timing of Notice

       The prosecution acknowledges that its request for notice two and a half months before trial

is inconsistent with the cases upon which it relies in support of pretrial notice. At most, those cases

required disclosure two weeks before trial. Doc. 98, at 13 (discussing Crowder, Dallman, and

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Cooper). Bizarrely, the prosecution attempts to distinguish these cases by describing them as

“more simple cases with fewer attorneys on whose advice a defendant purportedly relied.” Id. Yet

those “simple” cases had pretrial periods far in excess of this case. For example, Dallman was

indicted in 2020 and has not gone to trial yet, and Crowder resolved by plea a little more than a

year after indictment. Two months ago, the prosecution advocated a four-month pretrial period and

now out of “fairness” it needs two and half months to investigate a possible defense. While the

defense agrees with the prosecution’s assessment that the records and witnesses relevant to this

issue are “potentially extensive,” they are just a drop in the bucket of the number of potential

witnesses and records the defense must address. The prosecution’s lamenting unfairness only calls

attention to the absurdity of its position on a trial schedule.

        C. The Prosecution Should Be Required to Identify the Witnesses and Records at Issue

        The prosecution claims that 25 witnesses have invoked privilege. Presumably, the

prosecution also received privilege logs or other privilege invocations in response to document

requests. The prosecution should be required to disclose these 25 witnesses, along with all of the

logs in which the prosecution is interested. At this time, defense counsel has not been able to fully

review the voluminous discovery in this matter, which is indeed impossible within the schedule

set by the Court.

        At a minimum, the prosecution should (1) identify all materials within their discovery

production that they assert are attorney-client privileged information, work product, or are

otherwise protected; (2) describe the basis for the assertion that the materials are protected and

who holds the privilege with respect to those materials; (3) identify the 25 witnesses referenced in

the motion, or any other witnesses, that have asserted the attorney-client privilege or who the

prosecution believes possess attorney-client privileged information; and (4) identify all materials



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not within their discovery production that they believe the defense would be required to produce

regarding an advice of counsel defense, including the source of the materials.

       III.    If the Court Orders Pretrial Notice, the Time for Submission of Jury
               Instructions is a Reasonable Deadline

       Requiring early disclosure of a defense that involves reliance on counsel is inappropriate

given the important implications of that defense. Typically, that formal defense becomes apparent

through jury instructions after an evidentiary presentation at trial. Thus, the pertinent questions are

whether: (1) the defense will propose an advice of counsel instruction pretrial, and (2) the defense

will, at trial, attempt to establish that defense. DeFries, 129 F.3d at 1308 (“A defendant is entitled

to an advice-of-counsel instruction if he introduces evidence showing . . . any foundation in the

evidence sufficient to bring the issue into the case, even if that evidence is weak, insufficient,

inconsistent, or of doubtful credibility.”); see also United States v. Carr, 740 F.2d 339, 346 n. 11

(5th Cir. 1984) (“Strictly speaking, good faith reliance on advice of counsel is not really a defense

to an allegation of fraud but is the basis for a jury instruction on whether or not the defendant

possessed the requisite specific intent.”).

       Thus, until President Trump decides to use privileged information to influence a decision-

maker, his attorney-client privileges remain intact. John Doe Co. v. United States, 350 F.3d 299,

306 (2d Cir. 2003), as amended (Nov. 25, 2003) (“The unfairness and distortion of process . . . has

been found when one party advanced a contention to a decisionmaker, such as a court or jury,

while denying its adversary access to privileged materials which might have been used to rebut

the privilege holder's contention.”). Although “the attorney-client privilege cannot at once be used

as a shield and a sword,” Bilzerian, 926 F.2d at 1292, the sword is now in the sheath and there is

nothing to disclose until President Trump asserts the defense at trial.




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         Nonetheless, President Trump agrees to provide notice to the prosecution of whether he

intends to pursue a formal advice of counsel defense at the time jury instructions are due, which is

currently January 15, 2024. If, at that time, President Trump requests an advice of counsel

instruction, the Court should solicit briefing to determine a reasonable schedule for President

Trump’s production of relevant materials, depending on the scope of the requested instruction. 7

                                          CONCLUSION

         The prosecution’s Motion offends due process and undermines President Trump’s

fundamental right to defend himself in this criminal prosecution. Accordingly, the Court should

deny the motion; however, President Trump will agree to pretrial notice on the schedule described

above.




7
  To be sure, even in the absence of a formal advice of counsel instruction, the trial in this matter
will feature both attorney witnesses and documentary evidence from the prosecution’s discovery
production. Without addressing the admissibility of any particular evidence, evidence regarding
President Trump’s state of mind is probative, regardless of whether he requests a formal advice of
counsel instruction. Thus, so long as the President Trump relies only on the prosecution’s
productions of attorney communications, and does not inject any new records into the case to
which the prosecution does not have access, the sword remains in the sheath and President Trump
should have no additional disclosure obligations beyond those required by Rule 16. See United
States v. Crinel, 2016 WL 6441249, at *11 (E.D. La. Nov. 1, 2016) (“[T]he Fifth Circuit, in quoting
White, merely adopted that court's reasoning that there is a difference between a good faith defense
and a reliance on advice of counsel defense because the introduction of a good faith defense does
not waive attorney-client privilege.”); see also In re Cnty. of Erie, 546 F.3d 222, 228 (2d Cir. 2008)
(privilege remains if defendant “argued good faith only through defense counsel and the
examination of witnesses.”); White, 887 F.2d at 270 (“[T]o be acquitted for lack of criminal intent,
[a defendant] need not have presented any evidence . . . It was [defendant’s] constitutional right to
put the government to its proof on all the elements of the offense. To penalize him for exercising
this right by holding that he waived his attorney-client privilege would cut short both the privilege
and the right.”).
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Dated: October 20, 2023               Respectfully submitted,


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